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                         Exhibit 1
TO UNITED STATES’ REPLY TO BPXP’S OPPOSITION TO MOTION IN LIMINE TO
PERMIT RELEVANT EVIDENCE CONCERNING BP P.L.C. AND ITS AFFILIATES
  Case 2:10-md-02179-CJB-DPC Document 12510-2 Filed 03/13/14 Page 2 of 15



Annual Report and                                                           bp
Form 20-F 2012

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                                        Building a stronger,
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     i wft" T,","",,",.. ·, 1->-.., .... U .C.,.,. "'" ~ to - ~ Trton="                                  2011, >r'     on-:l_"" ".-.,.        ue<l tt3l they cod reoch<d , 10101 V _ L
       ...."" --,.,- r... te-:l :o the locil<rt. Tran~ ~"" ..... L"" c .o--n.                            Ie""" d cl>iI"-1o t.."--1 tn. oon ~                     ,.0..., '" Lho I, .... ,t, "d,,,",,
       >(jOinot B? .....,.., .,,,. !w.', ",.,h .I .." .nO OPA "" lor- oontito<;""" iln                   m-fl..'oI _ .. ' c(" , ...... """""-- "" ..-.ti - . 0 tMt ore .ubject to
       20 J ",. :1011, Cor,,,,,,,,", lied ...,,-ar c Dim, ~ Elf' io t'le [)oj Ac-:b,                     t ho oormct...-- oct--okcut ;1'1"-" ,"",u.,., pr~, 0, t ho 1_0<1
                                                                                                         "",[~ ~ d Itigoo '-"n "'("'~ " " fNN 0. ... " . u.., ;., tho .. ttloomo;",
      Or. 8 ~ ZOII, tho ~ S""-,,, ilr"'-4l'_ ' ,,,,,hon fu- .... ' ''"
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      ""--'-'-"'\' judgo r-..t """,," "',"'''' " ho' t~ .... , on """" f;mir,g t""t ""',
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     T,,,,,,,,,,,,,,n ... d _        0 ore Wictf,- IiobIe I"" eM ,...""'" """",
      ~Ooo 311 1l) 17)I..'l c(tn. C "'" W..... Ad. On 12 .' .u -""Y'0", ,,,.
                                                                                                          ,.,. M:.l.2 ... ,. '0 BP_ Tho       ,.!L""'_,L   q _ .... oko .... ·t. _ o
     , W. """,, '"      mot"",     filed n t ho [)oj Act.,., t:.,. flo " ~"d Sto:e::,
                                                                                                         t", """"""",,,tor,         12,5'-' P',",*,"" -n c"",,", let"" """\'erio, 110m
     A~ o, .,.-"j T,,,"== ' ''''' .... ooriy r A VO r_                 dOcg IN t;obi; Ly or E-P.         t-oro pt(tio, . 1d """""'. ..... , "'" r>~ " Lho """'" , ,., ""'"
     A.-..Joo'o ond T...-""""" L_ - ilPA 00 IITlO , ... ~le .., W"", k: t>J:                             """""'~, """ proco<><Io ""coed 51,S l;ilfoo n Il00,,,,,0-:0, Aty ",-"t_

     ""'''';,ho orne- to _ofrIg ihe ~ ~ ~ = .ring                                                        poyrn<nO> "Anod><I<o "0           coppod".       " tal cI $: ail .".,. ElF ho& "Il' ..d to
      ..-". ""r..,.           "I ,,. ",.to<. R_ ,,",- O?,~ [l:), t l>o judge t ekf tlW Bf                ' - -Vf-.nodorko "'" MO ~ X f", COfV.-n c\ofm, !IIi.''>,) fn;." '''' ~d:le< -•
     ond ,0,.-,",,",<0 .,.. "'~ por'-" croe' Dl'A 90 wth r....,.-d Ie , ...                              ;excl ..dirll oM, cr.-ri-1ol e; o:rn",,,>t,,,, 11"",.00 ~ , cIoi -r.. I",
     ,""":1",. dioaI'... ,... Tn. ;...,. "M;          ,.,.t
                                                          BP ... ,1 ~ ....... fofn': orJ                 p;-." .... " " ' - ', """ , ...... , ot ..... ,1W<'>j , Tho - . ,.. 1Og' """",r"
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     ,." .,,,. -..- , __ Of'A 90 fN r..-r=lll c_ ..-d oar~gc> lor """""
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      rIIOcIc"-OIO '" t ho ""~""" o' 'ho Doopwot. ,..,.bID"_ ~ ... ti'.                                  """ . '" ;" i. d ... "",," " f.Iow 0,., .. ,,_

1M   ".JdICc,ooI ,:""",,,,,,,
     il? A·...... I R_,t .nO f",,,, ~:>-f ?O1'
          Case 2:10-md-02179-CJB-DPC Document 12510-2 Filed 03/13/14 Page 10 of 15



 C\" l() "",1 l()1;, Tr,,,",x ell!1 fi ..:l cIo."", i, ie. L,,,t1ioo " L-IobO L,                 On ' Sop!.,'t- '0' " Hoi t.._ Ii od '"' JI(fo;jjo"," ._t~, B~;,
 ""'.., ..... :, ... 'I·... ill' 1-,.., "'-''''''' "P A'TlO<U PrOO;ct"" Corr4>o'ty',             T,,,,,,;,,,,, w.xt. I" ~,~ ,h. LBP did ,lOt """ HIy tI·.
 ,ootroct ",.-t/", ~r..,~ HoIdir.oJ' Ll C t:". BP ""t y ..:'tg to "x.ll~l,                       OX'"",,,,,, '" • """""L..J I"u-""""""               =to" ''''
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ITr",= ...'. T'",,~ ,,'. ,"""" ~ "" oro..ht ','<OO~ .... "P'.
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 "",,trh",n ,__ ",. ...,.'''''t ~rw-= .. n rn re<tUi'" SP to "Iend,..-d
  ir.;Sem:;1y  T""''''''''':>1
   lroot in! ,"0" ,...giuo<lc'O, . no fm", ci¥I      t_
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                                    ~,,_ ~ I


  tho ll"""'nrre-1t. C\", 7 ~ 2011, BP flod • cro=mot"" I"
                                                                                   Lim. ,....
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  ......-rr<Iry i<4'""' 1t _ intl on ",do< l)ot BP ~ ," """, ' K to 'ndoorriIy
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                                                                                        J,."" "'-"'1'"" '" t........   t'~ "'''' r.~""". O' o,~ ~ NewCO-.... ' • . On
                                                                                                 1 ~l Oll, Ho~o 01", ~ 'o """""i" d." ""
                                                                                                 T,""""",",.". "j""t.,;"" of l ... l " ,,",'" 10 ""'" ctor-n. fOf""'-'d booed 00
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                                                                                                                                       incuM '"' its 1 ~_ 2011
  T,"""",_ for "'" ';";1 I....,. ond ,..,",,'tieo ~~, t>.- ,~ , (po'"rrn<n' Cf                    """t    ogoino' BP ~ T""" ,,,,,-,, "",e 0 " 11 Oct, - 1O", ..,.
  "" pY" l~e    """"'110"_                                                                       ,.... ;,,-"").,doo " "'" I _,~ r"'~ t>tli"rict I' ~ proceed,.,. " Now
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  0.. ,. ...... '"'" "'t?, t ho i4;. r". ed "" 3 P', " , j Tr.nrocoon', <>:Iernc;ty
  r>O':j ''''", rd:f .... tho': 3P i. ' '''l<-'ifod to ind<tffi1 ( " T",",,~ '", '~ ro-          ='''''' '" ,ov",," LI", ",do<' W» Joo>od lv tI·. j,,",,,, "" 1~ ~
  P'-'''' _,., I,,·   """"""»ot,,, ............                 'com
                                                            ",,,,",~~         pJ " ....          ~"
  "..,...,t'r<) bon.,," ,'le su1oc< if ,he ""....., r__         dl,,, who,h"   af          tn.   On :!O Api Il() II, S P '--"""00 cIo 'no ogo; '" Lc."",,,, , HoO<                I.""", '"~
 """'p....
  <~irn rO>U3 from T"""""",,,,{ , ' [(-ol Io Oii ty, """,,",'00 '" """.
                      II,. "'. .\. ",,",,_ , r"",, tho: ~ p do= 00' owo T"",,,,,,,,,,,
  t 1em~ty to<...rn , 101"" to ,he        """"'t           T",n~n is _            10010 r"
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  ,,,....j , .... do", ..." , Or' '", o;...J ...... ' . . ","'", tho (l .. n , _ Act Or' 1       f...·' .. moy bo -.d'.r",; .t t.... ""-' upon ,~ ...'ide"",), c ""tr ~ ut"'"
  T,",'""", oct" wf11 ~",.. '" wllul rti=on.ct" ""CO" of ~=,                                     "'" """,.,..,,,,, Ie< cOS-" l OOudlng thooo oIi~ IrO(', iU<• • ,,,, .,...".:,
: ~ce. T~ GOC~ II>th<r fold , ho LBP'.                   ob,'""",
  Tr""""" ..·, .. tlr,d-... "V e M", "'"-' ",,:r""l'--'ir< B? '0 fu""
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  T"'n = '~' · . clof. "", o(-;;-o-~-portf cIo",." tho. '-""', """ ~ iL .....>do                 propor'.i<Jno' • • ho r. af 11·.,00<1.> '"'~ " " ' _ . ill' • .....--toO cloirl', ogo;c"

i doI..,-t<l , , '''-, "-*v en Vto qoo>tiY1 0(      ·Hho_
  T" n ~', "" ........ "1"0... ·' ,t. ';' 11 to ir>dor>--;tv, Tho co::-rxt
                                                                      Tr.r",,,,,,,., br ___ ;"
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                                                                                                 """'C!)" """'_"''''''    'a BP co""",,-ng. ~ aL .... LOO",", t ... """ ~ty
  dri~ .... ron,ract ",;th BP '" .. Lo "",. Ido,_ t"- ",,·trod', Oio"", ' V                      ""to·.. "" tho 1_           ,-"" t .-d It: ,1>0 ~1oc",,"" w. t Ie< _"[10,,,,,"
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 On 2<1 ApiI20", fl.1 ",.t"" i io>n c"'-"., ~ T"",=,"n', lm ... ,..., of                         fld "-"ton', .-k",,,,,,,,,, " ;" 01'01.."".. ".'"~''''' ""U\~~
 ~lV       oct""
               """'">l mem~I"" ' ",, Irrrr, SP I", cIoino broc~'1t                   '\1<'"''    cemer<h;111r\O mOO io!};frg ,erv>:;e,,, and I", coo'""-",,," ond ...",,,,,,to.,
 Kol totoo i, " ~ L "',,,,, ",oj C.. "."., ...... "" ctoi--c . ~ ~ p ' "
 """"t.."," cr_ "ote ~, .-...1:i'Tle "''''' ,00 CRA 00, "wei " fa-
                                                                                                 oPA ,...,""""" ...:1 ~,             ,..,.-r,...,,,""".1""
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 000".100,..., "'. ,1>0 _ , of 000_""... I"'L..' ''ib"d"". 100 ......"" •                        cortl'io:n' ~ fod..->I c"--It -It , ho SoUho," [)>I,d 01 T.'H , fh",,,"
 <Io,n I", """ ~""" 1I"'" ..,..."" """ \vlf~ rmco-rt;ct OQOi-,,' BP                              ~"..,.;not ~d)wton. ,.,.j tho ""''''' "'"" TIonoferrect on ~""",,'
 ,.-., o-; ~, 0 , 19 Apri 2011, KoI O<xton lilod. ~, .. ~ ,.• ~ L ~
 ='0 oo.rt _,<\)          iodom'>'''''''', I,u", BPl(" h _toi" tori.",
                                                                                     T.,.,. Orl,..,.
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 r-d ~ 'tkx-.-,"' ~ ", ~.,-", r.,ut ..... IrOO1 '~e Ino::Oeot Or 3 M"I 2m I,                     C\" lG ~r 2011,               ElF
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 BPX, ;errffl.d KolUxto,', c;a", '" ~ .. ""-"L, .. .J on 9 """'" 20",                            "",,10 01 ci>",.bo!w,,"," " . "",_, ... ,000t. d '" ",. I_       t McWl~
 <h. "''''' _ , ",", I~,,",,, to" ~ ledefo l .-..J j -<li-"'~' "~ryJt""                          ""_" " '"_., " """'" ... _              BP ond Com",,,,
                                                                                                 til< f __>1 ",,-,'i-ds'lie' i';p:;oo pr o ~no " N.", 0 """,,,_11 ",,",_
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!~=~: ~::;=~~, H.."xtc<" I'M' cmoo TI                                                            "'LIo,,_t "" , _ _ ,t,       c.,,_.,   )0'''';1 ,., $2!"~ m ll<>n .., o..t1 "
                                                                                                 .!onuory :!O11, wI1'<~ SP Ms <I',,~d ""'''';5 ,~, $2<l-bbt Tn..!. BP ' "
 '"--nm><)' .iU<!Qnent     n ,ho f .... ' rtU:--Jo'''~L ' if<>OL"n ", ,,,,,,",""
 "..,d ..... " N<.N 0,1.."._ Hoilt.., ,,.,, . motion       """h' '"
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                                                                                                 OU'""d '" i "","ri~ Co.r"",,,, I", """.',,,,. .. "'V _no                  ,n.in\1
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 fWIx''tor· ~ .", t ·ed to ILJI ,nd ' orrtpki-:o _"",lV. inc udicrg "'I"'_ L"                    I"''''''t u 'ud'rl\l cIe"", braurJ1t 'elir.ing '0 potJ'toO ~ cr ""v
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,.p'.
 dol"",. =,~ from BP 10' "'"II" ,oI . t ~; to th. ~ """ t ~ dooy<-~
       d.m, .... i"ll «:-010\>-"00 OQOin<1 HoIllbtmn_ Or 21 [locombo(
 20'1', Br ~It<l , ",,,,,,·mot"" !Of poo'tioli 'XT' rt""Y       in.,._" _ ' ''"''
                                                                                                                      ' ."""cO<;, " ...     .>:fI .... 'i"l ",i'nit'. or oOri~ ",,,, ,,"
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 I~ "" , ,..",be, '" puo-t"" ~, rw..j ' .... Irrnt ,ho Ir.::O>n,                                 =,..,....,'
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                                                                                                                                           01."                   ~~I           d.n-~ ~ • (~Mt
 0.. "' J.".__ v """', '''' ;';<'\1< rUee on E\P', rn Ho .,.,...,.,', O:l<--nn~
 OUio", r,o'lfn.J , ... , SP ~ r<q.<od '0 ;-a..m "ly I........ ''''' Ie' Lhir'd"",t,             to ;ndenTrity to< ""'"    """"'')0'       booed on "wei ,00000oo cont'""" v.i"
  do ,m '", "",,~ .. bV          .1.0..-- """"'''Il       f""" PO:<UOO tho: did 00'
  arioj,.,t. I"", 1"OI'e<ty e< oq:>p:net1' al HoI.'lOOrtoo boot", _                   tr~
                                                                                                 BP. 0, 2QJ..-.. 2~' I, BP fi",J COC nL"-_"""",",'nt • ..,';n. t Dri'Wp, 'rc ,
                                                                                                                        ,,,,,,,,,,,t..., ,,"
                                                                                                 . '" >,<-1. ..Ie...." for                     OCbT'",""" t:<,.; on tee," ontll""
 "" r.a. al tho ..;oj " ' ,......, ~. of whot ...... 110 , Ioi"", =-i' 1r«11                     foU' io c" ....~ ct ioo wth tho loeId<or< and undo; CRA 00, • ." _ ,~~
  Hotlb.:rtoo ',~, r\e!lI-",nce. Tho ,ou't.~, r ~od iho ' BP""""
                                                                                                 _ . b V ;.""",.,t tf..., ",1-<)"",, Inc, ""'" M"I c ,~ or CO'1,rbJ:od to,
  r.ot "', . ~..rIbJ"oo ~ Ly Lo Ii.. . ,t ... t t hot Hoi"'",," ~ ""~ _                          ,od "" "' ~ h whole e<" port 10' ~, uoo<>d t:". 8P ~,
 Ie< P'--' ~ "" ~ 0: Ie< eM ,.."'~ co ..mort", C'ooo                      w, ...    Ad_ 'l-..    ...."", '0 '""      I,,.;;o.,,,t. O n 2!).J.....,..,'
                                                                                                                                                  1~'2, tt-.. roxt !I''''to<i Dr'l-o..:p,
 roIrt 'Xlhe< _          : hot Bf". OC><>O L"" to "" I. -.J  fl..II,,,,,,., j,,' t hir'1-porty   u " motion to< ""n-<nIII"i ~ cbri...... ",1M                             1".,udIoo
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  ~ _ , ret '""~" BP to lun<l Ko~tut",, 's defenco of the~port y
                                                                                                 .... ,LOd ou><" LDril-Qu;p ~,te . h,d"". 1""""-<i-"r~t ; ~:lI't"" pr=_~
 d"r~    "t.,.,     ' me, rK<' ,lo., l ioel""", f~" "",Loo' •• ,.,..-'.", , . .. "",.~           i, "lev.. Or .. n."
 .. 'q"       to -ndo<nnity. lho c~XI ~I. _ M"Il or, whotr"" BI' i. r"'l<-'ifoo                  On 21   .La""..,. 2<112, BP """ "'-I "",,,,oJ ,,"' .., ...-_"""t>Ot:hj' I
 '0 -'l<lerrti'y HoIIIOO:tor, Ie< "'" PO""""" Of ,.."" uOOo.- Lho c<'t..-                        "*'" bootw _n t"- '.". '."" ,", ""'to(', '0 th. , , _ , , ~ c U\ing roo:JO I
Ic.x.t i rM>rt~ Shoj i ~,..;, Ad. " 01 "" _'"'" '...., on " h tr" Ho"ob<-<K:n                    roio;],,,, of ciol", t:-<"--'" SP ",d M-I 'h", "'•• ..t;ocL'" t~ . 'odo<ooO
 oct .. "" .. to nv. iM:o '1lo '--"~ty by t:.re~ to                    ='roc'      wi,h BP,
 i>{ oOFrnitj".. ,__ .w, Of t:". , ,,,,..-,; l(i no .. ",,1_ oct th.t ~, ..... '''''
                                                                                                 ""''''''t,""     I t ... ,,,,,, 1"'''''"''''"'• ., Now Or~ ,,,,, Un" - , he 'ett~ rn.,"'
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  ..,. ... ,~.r ,... "-" to ~P ,,.. ", .j<;~ ,t<l ,1>0 r"~" of' BP " '" m.rr.-lor                ""-,,,,, br"ouil ~L '" M"I ~ . 3'> '"" ..,.-_Ito , ,,.,,,..ty M"110<
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                                       ·.........""",,""","  "'one _ <10 ... ". .............
                                                  ,.''''''.,...,IO_  ..... _ •.,._    ~
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                                     _ _ ,fW <IIi:T. to 80 .nIOt OPA 90 lor.~ _ _ I
                                     """""'n~ ........ " ,J  ",.-L,...._ ••• ,.... , '*_ G..., ot Mo.." 01
                                     .pn Sf if; = I"'~ te.... """,", 111<1 S""" of L""' ...... Mo 00;0
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        Case 2:10-md-02179-CJB-DPC Document 12510-2 Filed 03/13/14 Page 14 of 15



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                Case 2:10-md-02179-CJB-DPC Document 12510-2 Filed 03/13/14 Page 15 of 15



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